Case 2:20-cr-20382-PDB-RSW ECF No. 25-11, PageID.273 Filed 05/03/21 Page 1 of 4




                 EXHIBIT 10
Case 2:20-cr-20382-PDB-RSW ECF No. 25-11, PageID.274 Filed 05/03/21 Page 2 of 4




      D    mber 07 2020

      Rosemaries A. Salinas
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      Judge Paul Borman
      Re: Dennis D. Williams

      Dear Honorable Paul Borman,

      Hello, my name is Rosemarie Salinas, known by most as Rosie. I am writing to you today on
      behalf of my friend my colleague, and my mentor Dennis D. Williams the defendant.

      I said that I am a friend of Dennis' s but we dido 't start off as friends. As a matter of fact, the first
      time meeting Dennis is probably not he remembers. l was the president of UAW Local 2166 in
      Shreveport, Louisiana representing members from a General Motors facility. In 2012 the plant
      was slated to close so the chairman of the local and I attended a sub-council meeting in Detroit,
      MI. At that meeting I spoke to the UAW International Leadership which included Dennis. I
      believe he was the UAW's Secretary-Treasure at the time. I remember this because I ran into
      him (after I had spoken) while he was conversing with others in leadership and he interrupted his
      conversation to give warm wishes for not only my locals future but my personal future. I can't
      tell you exactly what he said just that he encouraged me to stay strong and keep my positive
      attitude. I always thought that was one of the nicest things, after all he didn' t have to even
      acknowledge me but he did .. .oh and he remembered my name as well!

      Dennis and I became colleagues when I was hired by the UAW International Union in 2012,
      after my plant closed. At that time, I worked in Region 5 as the education representative and was
      based out of Missouri. I was responsible for setting up the region's meetings and conferences.
      Dennis would attend regional events so I was afforded many opportunities to not only hear
      Dennis speak to our members at each event, but I also was able to get to know him on a more
      personal level. During this time, I even met and became friends with his wife, Donna, and his
      sons. Dennis is a very easy person to talk to and he is someone that I always thought really
      listened to what I said even if at the time he appeared to be preoccupied with his thoughts. I
      called Dennis my mentor because that was exactly what he was, and I will be forever grateful for
      the time he spent advising me on things in my life personal and professional. I can remember
      that Dennis would always ask me how I was doing and ifl was okay and just so you know when
      you work for the UAW International if someone in leadership ask how you are doing it was NOT
Case 2:20-cr-20382-PDB-RSW ECF No. 25-11, PageID.275 Filed 05/03/21 Page 3 of 4




      proper to share your true feelings so the answers were always the same " yes l m good or ' l 'm
      fine . At one event Dennis didn' t accept that answer from me and took me aside to truly find out
      what was going on with me. He told me ' I know there has been omething wrong with you the
     last few times I ve seen you, you haven ' t had your usual spunk and the spark or shine in your
     eyes is gone. I told Dennis I wasn t happy working in Region 5, for the director, and that it was
     horrible and that I truly was unhappy. Dennis asked me how I wouJd feel about moving to
     Detroit and I answered 'when can I start?''. Dennis took to heart what I aid and worked on
     getting me moved which he did.

     Upon my move to Detroit, my friendship with Dennis, Donna, and his son Matt grew because we
     all lived in Detroit and not far from one another. By this time Dennis was now the president of
     the UAW. Being that I lived downtown just a few miles from the Williams s, I was asked to
     pick Dennis up from the airport and sometimes drive him to Lansing which of course I did and
     totally loved cause it gave me many opportunities to pick his brain. A lot of times during our
     drives Dennis would get phone calls and you know you respectfully try not to listen but it is not
     always an easy thing to do and sometimes Dennis wouJd share what the call was about.. .I always
     thought it was just to talk it out for himself.

      Over the years of getting to know Dennis I have seen him really go to bat ' for a lot of people.
      Some of those people didn't even know that Dennis was behind the kindness that they received
      and most of the time that was how he liked it. He was a true believer in our members and our
      members loved him. In my job I interacted with our members on a regular basis so I was
      afforded many opportunities to talk to them (our members) and over and over again I would hear
      praises of Dennis for the fight he fought for their locals and bow Dennis was just a regular guy
      that he would bang out with them and even have a drink with them. You see before Dennis the
      president of the UAW didn't have many interactions with the members it was mostly they would
      go to events speak, shake hands and take pictures then leave ... Dennis wasn t that guy he wanted
      to hang out with our members .and be available to them .....he would always say that s how you
      find out what the real issues are.

     The UAW has always been a "good ole boys" place until Dennis. Under Dennis s leadership, as
     president, gave more women opportunities to advance their careers. He truly worked hard at
     bringing the best out of everyone expecting them to work as hard as he did.

     I said earlier that Dennis was my friend, my colleague, and my mentor. Well today, Dennis D.
     Williams is my friend as we are now both retired. If it were not for Dennis I would not be where
     ram today. Without Dennh' s advice, support, and most importantly hls belief in me, I probably
     would have quit my job and went back home to Louisiana. Dennis and Donna welcomed me
     into their home because they knew I lived in Detroit and my family was in Louisiana. They were
     so very kind to me! I have even spent a couple holidays with them when I was not able to travel
Case 2:20-cr-20382-PDB-RSW ECF No. 25-11, PageID.276 Filed 05/03/21 Page 4 of 4




      home. Thanksgiving is the holiday that I most spent with them and I am not sure they even know
      v hat that meant to be welcomed into their home during such a special holiday that included their
      entire family. I even got to meet Dennis's two grandchildren which by the way just adore
      Dennis.

      Being around Dennis, especially during holidays, gave me an even greater respect for him.
      Dennis always worked. He would get phone calls in all hours of the day including Thanksgiving
      Day, and he would take these because be always put our members before him.self. I know it was
      hard on him and hurtful to his family that he would put our member fir t. I know it wa
      frustrating for me to atch the hurt in his family's eyes when his phone would ring. Dennis made
      huge sacrifices for the UAW but Dennis's family made sacrifices too throughout his entire
      career. Now that Dennis is retired he has the opportunity to try to make up for loss time. He
      won't be able to get tho e years back but if given the opportunity I know Dennis will work hard
      to bring his family back together again and finally put Donna, Matt, Ryan and Ryan's fam.ily first
      like they de erve.

      Judge Borman I am sharing these thoughts and experiences, which are just a very few examples
      with you to ask you to show leniency when the time comes time to impose sentencing on Dennis.
      I am not ure if what I shared explains or shows the great work that Dennis has done for the
      UAW and the members it represents but I want you to know I am available for any questions or
      clarifications if you need any. I have included alJ my contact infonnation above so please feel
      free to contact me for any further information ou may need.

      Respectfully,




      Rosemarie A. Salinas
